                           Case 1:17-cv-04179-DLC Document 2 Filed 06/05/17 Page 1 of 2
JS 44C/SONY                                                               CIVIL COVER SHEET
REV. 06/01/17
                        The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                        other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                        United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                DEFENDANTS
UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                          ALPINE SECURITIES CORPORATION



ATTORNEYS(FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                        ATTORNEYS (IF KNOWN)
Zachary T. Carlyle, Esq., Terry E. Miller, Esq., SECURITIES AND                           Mark L. Smith, Esq., Smith Correll, LLP
EXCHANGE COMMISSION 1961 Stout Street, Suite 1700, Denver,                                11766 Wilshire Bivd., Suite 1670, Los Angeles, CA 90025, 213-443-6222
Colorado 80294,Telephone:(303)844-1000, Email: carlylez@sec.gov
CAUSE OF ACTION(CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE
                (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)
Failure to report suspicious securities transaction activity/recordkeeping failures: violations of 15 U.S.C. § 78q(a) and 17 C.F.R. § 240.17a-~8.

                                                                                                                                                Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SONY at any time? No ❑Yes

If yes, was this case Vol.~ Invol. ~ Dismissed. No ~ Yes ~                        If yes, give date                                   & Case No.

IS THIS AN INTERNATIONAL ARBITRATION CASE?            No Q            Yes ❑

(PLACE AN (xJ IN ONE BOX ONLY)                                      NATURE OF SUIT
                               TORTS                                                                                    ACTIONS UNDER STATUTES



CONTRACT                       PERSONALINJURY                PERSONAL INJURY              FORFEITUREIPENALTY            BANKRUPTCY                     OTHER STATUTES
                                                             [ j 367 HEALTHCARE/
                                                                                                                                                      [ ]375 FALSE CLAIMS
[ ]110        INSURANCE      [ ]310 AIRPLANE                 PHARMACEUTICAL PERSONAL      ~~ 625 DRUG RELATED          (]422 APPEAL
                             [ ]315 AIRPLANE PRODUCT         INJURY/PRODUCT LIABILITY                                          28 USC 158             [ ]376 QUI TAM
[ ]120        MARINE                                                                       SEIZURE OF PROPERTY
[ ]130        MILLER ACT              LIABILITY              [ ]365 PERSONAL INJURY             2~ USC 881             11 423 WITHDRAWAL              [ ]400 STATE
[ ]140        NEGOTIABLE     [ ]320 ASSAULT, LIBEL 8                  PRODUCT LIABILITY   ~~ 690 OTHER                         28 USC 157                      REAPPORTIONMENT
              INSTRUMENT              SLANDER                [ ]368 ASBESTOS PERSONAL                                                                 [ ]410 ANTITRUST
[]150         RECOVERY OF    [ ]330 FEDERAL                           INJURY PRODUCT                                                                  [ J 430 BANKS 8 BANKING
              OVERPAYMENT &           EMPLOYERS'                      LIABILITY           PROPERTY RIGHTS                                             [ ]450 COMMERCE
              ENFORCEMENT             LIABILITY                                                                                                       [ ]460 DEPORTATION
              OF JUDGMENT    [ ]340 MARINE                   PERSONAL PROPERTY            [ ]820 COPYRIGHTS                                           []470 RACKETEER INFLU-
[ j 151       MEDICARE ACT   [ ]345 MARINE PRODUCT                                        [~830PATENT                                                          ENCED &CORRUPT
[ ]152        RECOVERY OF             LIABILITY              [ ]370 OTHER FRAUD            ~ j g35 PATENT-ABBREVIATED NEW DRUG APPLICATION                     ORGANIZATION ACT
              DEFAULTED      [ ]350 MOTOR VEHICLE            [ ]371 TRUTH IN LENDING                                                                          (RICO)
              STUDENT LOANS [ ]355 MOTOR VEHICLE                                          []840 TRADEMARK                                             [ ]480 CONSUMER CREDIT
             (EXCL VETERANS)          PRODUCT LIABILITY                                                                 SOCIAL SECURITY               [ ]490 CABLE/SATELLITE N
[]153         RECOVERY OF    [ j 360 OTHER PERSONAL
              OVERPAYMENT             INJURY            [ J 380 OTHER PERSONAL      LABOR                      [ ]861 HIA (1395f~                     [~ S50 SECURITIES/
              OF VETERAN'S   [ ]362 PERSONAL INJURY -            PROPERTY DAMAGE                               [ J 862 BLACK LUNG (923)                       COMMODITIES/
              BENEFITS                MED MALPRACTICE   [ ]385 PROPERTY DAMAGE [ ]710 FAIR LABOR               [ ]863 DIWC/DIWW (405(g))                      EXCHANGE
[]160         STOCKHOLDERS                                       PRODUCT LIABILITY          STANDARDS ACT      [ J 864 SSID TITLE XVI
              SUITS                                                                [ ]720 LABOR/MGMT           [ j 865 RSI (405(9))
[190          OTHER                                     PRISONER PETITIONS                  RELATIONS                                                 [ ]890 OTHER STATUTORY
              CONTRACT                                  [ ]463 ALIEN DETAINEE      (j740 RAILWAY LABOR ACT                                                    ACTIONS
[ ]195        CONTRACT                                  [ J 510 MOTIONS TO         [ ] 751 FAMILY MEDICAL       FEDERAL TAX SUITS                     [ ]891 AGRICULTURAL ACTS
              PRODUCT        ACTIONS UNDER STATUTES              VACATE SENTENCE LEAVE ACT(FMLA)
              LIABILITY                                          28 USC 2255                                   [ J 870 TAXES (U.S. Plaintiff or
[ ]196    FRANCHISE          CIVIL RIGHTS               [ ]530 HABEAS CORPUS       [ ]790 OTHER LABOR                   Defendant)                    [ ]893 ENVIRONMENTAL
                                                        [ ]535 DEATH PENALTY                LITIGATION         [ J 871 IRS-THIRD PARTY                        MATTERS
                                                            540 MANDAMUS &OTHER [ ]791 EMPL RET INC                     26 USC 7609                   [ ]895 FREEDOM OF
                              [ ]440 OTHER CIVIL RIGHTS ~ 1
                                                                                            SECURITY ACT (ERISAJ                                              INFORMATION ACT
                                     (Non-Prisoner)
REAL PROPERTY                                                                                                                                         [ ] 896 ARBITRATION
                               [ ]441 VOTING                                              IMMIGRATION                                                 [) 899 ADMINISTRATIVE
[ ]210       LAND              [ ]442 EMPLOYMENT             PRISONER CIVIL RIGHTS
                               [ ]443 HOUSING/                                                                                                           PROCEDURE ACT/REVIEW OR
             CONDEMNATION                                                             [ j 462 NATURALIZATION
                                       ACCOMMODATIONS        [ j 550 CIVIL RIGHTS                                                                        APPEAL OF AGENCY DECISION
[j220        FORECLOSURE                                                                       APPLICATION
[ j 230      RENT LEASE &      [ ]445 AMERICANS WITH         [ ]555 PRISON CONDITION  [ ]465 OTHER IMMIGRATION                                          [ ]950 CONSTITUTIONALITY OF
             EJECTMENT                 DISABILITIES-         [ ]560 CIVIL DETAINEE             ACTIONS                                                  STATE STATUTES
[ ]240       TORTS TO LAND             EMPLOYMENT               CONDITIONS OF CONFINEMENT
[ ]245       TORT PRODUCT      [ ]446 AMERICANS WITH
             LIABILITY                 DISABILITIES -OTHER
[]290        ALL OTHER          [ ]448 EDUCATION
             REAL PROPERTY




          Check if demanded in complaint:
                                                                      DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

❑         CHECK IF THIS IS ACLASS ACTION
          UNDER F.R.C.P. 23
                                                                      AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
                                                                      IF SO. STATE:

DEMAND$                              OTHER                            JUDGE                                                      DOCKET NUMBER

Check YES only if demanded in complaint
JURY DEMAND: ❑X YES ~JO                                               NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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(PLACE AN x IN ONE BOX ONLY)                                               ORIGIN
                                                                                                                  Multidistrid               Appeal to District
❑
X ~   Original      ~2 Removed from          ~3 Remanded          ~ 4 Reinstated or      ❑ 5 Transferred from ❑ 6 Litigation
                                                                                            (Specify District)
                                                                                                                                         ❑ 7 Judge from
      Proceeding       State Court               from                 Reopened                                    (Transferred)              Magistrate Judge
                                                 Appellate
                    ❑ a, all parties represented Court
                                                                                                                 $ Multidistrict Litigation (Direct File)
                             b, At least one party
                                is pro se.
(PLACE AN x IN ONE BOX ONLY)                                   BASIS OF JURISDICTION                                      IF DIVERSITY,INDICATE
Q 1 U.S. PLAINTIFF       ❑ 2 U.S. DEFENDANT           ❑ 3 FEDERAL QUESTION              ❑4 DIVERSITY                      CITIZENSHIP BELOW.
                                                           (U.S. NOT A PARTY)

                                  CITIZENSHIP OF PRINCIPAL PARTIES(FOR DIVERSITY CASES ONLY)
      (Place an [X] in one box for Plaintiff and one box for Defendant)

                                PTF DEF                                               PTF DEF                                        PTF DEF
CITIZEN OF THIS STATE           [ ]1 [ ]1        CITIZEN OR SUBJECT OF A              [ ]3[ J 3     INCORPORATED and PRINCIPAL PLACE []5 []5
                                                  FOREIGN COUNTRY                                   OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE [ ]2 [ ]2               INCORPORATED or PRINCIPAL PLACE      [ J 4[ ]4     FOREIGN NATION                               [ ]6 [ ]6
                                                  OF BUSINESS IN THIS STATE

PLAINTIFFS)ADDRESSES)AND COUNTY(IES)
SECURITIES AND EXCHANGE COMMISSION
1961 Stout Street, Suite 1700
Denver, Colorado 80294(Denver County)



DEFENDANTS)ADDRESSES)AND COUNTY(IES)
ALPINE SECURITIES CORPORATION
39 EXCHANGE PLACE
SALT LAKE CITY, UT 84111



DEFENDANTS)ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                          COURTHOUSE ASSIGNMENT
 hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:     THIS ACTION SHOULD BE ASSIGNED TO:                          ❑WHITE PLAINS                     ❑x MANHATTAN

DATE 6/5/2017                                                                                ADMITTED TO PRACTICE IN THIS DISTRICT
                        SI          RE      ATT~EY OF          ORD
                                                                                             ~ NO
                                                                                             [ ]YES(DATE ADMITTED Mo.          Yr.                          )
RECEIPT #                                                                                    Attorney Bar Code #


Magistrate Judge is to be designated by the Clerk of the Court

Magistrate Judge                                                                                              is so Designated.

Ruby J. Krajick, Clerk of Court by                             Deputy Clerk, DATED

UNITED STATES DISTRICT COURT(NEW YORK SOUTHERN)
